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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                           :                    CASE NO. 22-52950-PMB
                                  :
 ATLANTA LIGHT BULBS, INC.,       :                    CHAPTER 7
                                  :
               Debtor.            :                    JUDGE BAISIER
                                  :
 S. GREGORY HAYS, AS CHAPTER 7    :
 TRUSTEE FOR ATLANTA LIGHT        :
 BULBS, INC., DEBTOR,             :
                                  :
       Plaintiff,                 :
 v.                               :                    Adv. Pro. No.
                                  :
 ROBERT TROY TAITZ, JESSICA MARIE :
 MENDOZA, ALLIANCE ELECTRICAL :
 SERVICES, INC., LUMOS SUPPLIES,  :
 LLC and JOHN DOES 1 – 10,        :
                                  :
       Defendants.                :
         COMPLAINT TO AVOID AND RECOVER TRANSFERS, COMPEL
      TURNOVER OF PROPERTY, AND FOR EQUITABLE AND OTHER RELIEF

          Plaintiff S. Gregory Hays, not individually, but as Chapter 7 Trustee (“Plaintiff” or

 “Trustee”) for the Estate (the “Estate”) of Atlanta Light Bulbs, Inc., Debtor (“Debtor”) in the

 above captioned Bankruptcy Case (the “Bankruptcy Case”), by and through counsel, hereby files

 this Complaint to Avoid and Recover Transfers, Compel Turnover of Property, and for Equitable

 and Other Relief (the “Complaint”) against Defendants Robert Troy Taitz (“Taitz”), Jessica Marie

 Mendoza (“Mendoza”), Alliance Electrical Services, Inc. (“AES”), Lumos Supplies, LLC f/k/a

 Lumos Dynamics LLC (“Lumos”) and John Does 1-10 (collectively and individually, the

 “Defendants”) and alleges upon knowledge, information, and belief as follows:

                                      NATURE OF ACTION

          1.     This adversary proceeding (the “Adversary Proceeding”) is commenced against

 an insider or an entity owned by at least one insider of the Debtor to: (a) avoid and recover certain

 transfers of property or interests of the Debtor from one or more of the Defendants herein or from
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 any other person or entity for whose benefit the transfers were made; (b) compel the turnover of

 property of the Estate; (c) recover damages for conversion, breach of fiduciary duty, conspiracy,

 and unjust enrichment; and (d) obtain an accounting from each of the Defendants herein and other

 relief as set forth herein. Plaintiff further seeks the Court’s assistance to enjoin further transfers,

 unwind the fraudulent conveyances received by Defendants, and stop efforts to frustrate the

 Trustee in attempting to recover assets of the Estate.

        2.      Defendant Taitz and his significant other, Defendant Mendoza, obtained control of

 the operations of the Debtor and used such control to divert property of Debtor to themselves and

 related entities, including Defendants AES and Lumos. Incident to such conduct, Defendants Taitz

 and Mendoza breached, and aided and abetted the breach of, fiduciary duties owed to the Debtor

 by: a) converting or otherwise usurping for personal benefit assets and corporate opportunities of

 the Debtor; b) improperly disposing of, expending, or diverting assets of the Debtor while the

 Debtor was insolvent; c) improperly disposing of, expending, or diverting the assets of the Debtor

 without proper documentation; d) improperly continuing the operations up to and beyond the point

 of insolvency; e) failing to use and adhere to due care, loyalty, disclosure and good faith; f)

 dissipating, expending, or diverting assets of the Debtor for personal benefit or for the benefit of

 affiliated companies; g) engaging in transactions that were unfair to the Debtor; h) concealing,

 continuing, and aiding and abetting conduct to allow for the continuance of tortious conduct; i)

 engaging in fraudulent or otherwise avoidable transfers made for the sole benefit of one or more

 of the Defendants; j) committing civil conspiracy or otherwise aiding and abetting the commission

 of tortious acts against the Debtor; and k) wasting corporate assets of the Debtor.




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                                 JURISDICTION AND VENUE

        3.      The statutory and legal predicates for the relief sought herein are sections 105, 541,

 542, 544, 547, 548, 550, and 551 of chapter 11 of title 11 of the United States Code (“Bankruptcy

 Code”), O.C.G.A §§ 18-2-74, 18-2-75, and 51-12-30, Rules 6002, 7001, and 7004 of the Federal

 Rules of Bankruptcy Procedure (“Bankruptcy Rules”), and any other applicable law.

        4.      Plaintiff also brings this Adversary Proceeding pursuant to applicable state law to

 obtain an accounting from the Defendants, recover damages for conversion, breach of fiduciary

 duty, negligence, mismanagement, and waste of corporate assets, civil conspiracy/acting in concert,

 fraud, and punitive damages from certain of the Defendants.

        5.      As a result of the conduct of the Defendants, the rights and interests of the Debtor,

 its shareholders, and its creditors have been harmed, giving rise to direct claims against these

 Defendants.

        6.      This Court has jurisdiction over this Adversary Proceeding pursuant to 28 U.S.C. §§

 1334(b) and 157.

        7.      This Adversary Proceeding arises out of and relates to the Bankruptcy Case and is a

 “core” proceeding within the meaning of 28 U.S.C. § 157 to be heard and determined by this Court.

        8.      This Court may enter final orders or judgments in this Adversary Proceeding.

        9.      Venue over this Adversary Proceeding resides in this Court pursuant to 28 U.S.C.

 §§ 1408 and 1409.

        10.     This Court has jurisdiction over the Defendants pursuant to Rule 7004 of the

 Bankruptcy Rules.




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                       PROCEDURAL BACKGROUND AND PARTIES

        11.     On April 15, 2022, Halco Lighting Technologies, LLC, Norcross Electric Supply

 Company and Candela Corporation filed an involuntary petition for relief under Chapter 11 of

 Title 11 of the United States Code against the Debtor in the United States Bankruptcy Court for

 the Northern District of Georgia (the “Court”).

        12.     On May 23, 2022, the Court entered an Order for Relief under Chapter 11 of the

 Bankruptcy Code [Doc. No. 21].

        13.     On June 15, 2022, the Court entered an order [Doc. No. 58] directing the

 appointment of a Chapter 11 Trustee on behalf of Debtor.

        14.     On June 17, 2022, the Court entered an order [Doc. No. 68] approving the Trustee

 as Chapter 11 Trustee for Debtor.

        15.     On June 23, 2022, the United States Trustee conducted and concluded the Section

 341 meeting of creditors at which Defendant Mendoza, the principal of the Debtor, appeared and

 testified under oath regarding the business of the Debtor.

        16.     On July 7, 2022, the Court entered an order [Doc. No. 109] converting the

 Bankruptcy Case to Chapter 7 and directing the United States Trustee to appoint an interim Chapter

 7 Trustee in the Bankruptcy Case.

        17.     On July 7, 2022, the United States Trustee appointed S. Gregory Hays as the interim

 Trustee of the Debtor.

        18.     On August 16, 2022, the Trustee conducted and concluded the Section 341 meeting

 of creditors for the Chapter 7 Bankruptcy Case at which Defendant Mendoza appeared and testified

 under oath regarding the business of the Debtor.




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                                          THE PARTIES

        19.     S. Gregory Hays is the duly appointed and acting permanent Chapter 7 Trustee in

 this Bankruptcy Case.

        20.     The Plaintiff has standing and the right and power to: (a) avoid and recover any

 transfer of an interest or property of the Debtor or any obligation of the Debtor that may be voided;

 and (b) assert the claims and seek the relief requested herein.

        21.     Upon information and belief, at all times relevant hereto, Defendant Taitz is

 believed to be and/or held himself out as an officer and operations manager of the Debtor.

        22.     Defendant Taitz is a citizen and resident of the State of Georgia who currently

 resides at either 13104 Parkview Lane, Alpharetta, GA 30005 or 503 Branyan Trl., Milton, GA

 30004 and can be served at either address.

        23.     Upon information and belief, Defendant Taitz was identified as the operations

 manager and/or COO of the Debtor. In a November, 8 2021 Resolution and Certification in

 conjunction with a loan application to the Small Business Administration, Defendant Taitz was

 listed at the “COO.”

        24.     Defendant Taitz is listed as Chief Executive Officer for the Debtor on corporate

 filings with the Georgia Secretary of State dated May 18, 2021 and September 28, 2021. Defendant

 Taitz may have been or held himself out as an officer or director of the Debtor.

        25.     Upon information and belief, at all relevant times hereto, Defendant Taitz owed

 fiduciary duties to the Debtor.

        26.     Upon information and belief, at all relevant times hereto, Defendant Taitz: (a) was

 familiar with the operations and business affairs of the Debtor; (b) had access to business records




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 of the Debtor; and (c) was aware that he and Defendant Mendoza owed fiduciary duties to the

 Debtor.

        27.     Pursuant to 11 U.S.C. § 101(31), at all times relevant hereto, Defendant Taitz was

 an insider of the Debtor.

        28.     Upon information and belief, Defendant Mendoza and Defendant Taitz are believed

 to be in a long-term romantic relationship and cohabitate.

        29.     Defendant Mendoza is a citizen and resident of the State of Georgia who currently

 resides at either 13104 Parkview Lane, Alpharetta, GA 30005 or 503 Branyan Trl., Milton, GA

 30004 and can be served at either address.

        30.     At all times relevant to this Complaint, Defendant Mendoza was a shareholder, an

 officer, the general manager, and a person in control of the Debtor.

        31.     Upon information and belief, at all relevant times hereto, Defendant Mendoza owed

 fiduciary duties to the Debtor.

        32.     Upon information and belief, at all relevant times hereto, Defendant Mendoza: (a)

 was familiar with the operations and business affairs of the Debtor; (b) had access to business

 records of the Debtor; and (c) was aware that she and Defendant Taitz owed fiduciary duties to the

 Debtor.

        33.     Pursuant to 11 U.S.C. § 101(31), at all times relevant hereto, Defendant Mendoza

 was an insider of the Debtor.

        34.     Upon information and belief, Plaintiff anticipates that discovery will show that

 during all periods relevant to this Complaint, Defendant Mendoza and Defendant Taitz were in

 control of the operations of the Debtor and held themselves out as the officers or directors of the

 Debtor.


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          35.   Defendant AES is an affiliated entity of Defendant Taitz.

          36.   Defendant Mendoza is identified as the organizer of Defendant AES on a corporate

 filing for AES with the Georgia Secretary of State dated November 16, 2021.

          37.   Upon information and belief, Defendant AES is owned and controlled by

 Defendant Taitz. Defendant Taitz is listed as the “Organizer” on Article of Organization” filed

 with the Georgia Secretary of State dated June 8, 2021. The Registered Agent for AES is Jeffrey

 Mangieri, who previously represented AES.

          38.   The principal office address for Defendant AES is 2109 Mountain Industrial Blvd,

 Tucker, GA, 30084 per a corporate filing for Defendant AES with the Georgia Secretary of State

 filed on April 26, 2022.

          39.   Defendant AES is a Georgia corporation authorized to conduct business in the State

 of Georgia and may be served with this Complaint through its registered agent, Jeffrey Mangieri,

 at Two Ravinia Drive, Suite 1530, Atlanta, GA, 30346.

          40.   Defendant Lumos is an affiliated entity of Defendant Mendoza and Defendant

 Taitz.

          41.   Defendant Mendoza and Defendant Taitz are identified as the organizers of

 Defendant Lumos on a corporate filing for Lumos with the Georgia Secretary of State dated March

 11, 2019.

          42.   Defendant Taitz is listed as an authorized signor on a Certificate of Amendment,

 Name Change, changing the name from Lumos Dynamics LLC to Lumos Supplies LLC filed with

 the Georgia Secretary of State filed on May 4, 2022. Defendant Taitz is also listed as a “Member”

 on the April 7, 2022, Application for Reinstatement filed with the Georgia Secretary of State.




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        43.     Upon information and belief, Defendant Lumos is owned and controlled by

 Defendant Taitz.

        44.     The principal office address for the Defendant Lumos is 2109 Mountain Industrial

 Blvd, Tucker, GA, 30084 per a corporate filing for Defendant Lumos with the Georgia Secretary

 of State filed on April 7, 2022.

        45.     Defendant Lumos is a Georgia corporation authorized to conduct business in the

 State of Georgia and may be served with this Complaint through its registered agent, Jeffrey

 Mangieri, at Two Ravinia Drive, Suite 1530, Atlanta, GA, 30346.

        46.     John Does 1 through 10 are individuals or entities who may have received avoidable

 transfers or who are in possession, custody and control of property of the Estate, but whose

 identities have been hidden or concealed from the Trustee and are currently unknown to the

 Trustee.

        47.     At all times relevant hereto, at least one of the Defendants was an agent of the

 Debtor under applicable law responsible for maintaining the property of the Debtor.

        48.     Defendants are subject to the jurisdiction and venue of this Court and may be served

 pursuant to Fed. R. Bankr. P. 7004 and any other applicable law.

                                    FACTUAL BACKGROUND

    A. Inadequate Disclosures and Production

        49.     With the assistance of the professionals of the Trustee, the Trustee has, among other

 things, conducted an initial and preliminary investigation and review of the affairs of the Debtor

 that has been hindered by a lack of documentation, records, and information generally related to

 the financial matters of the Debtor.




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        50.     As the Bankruptcy Case was an involuntary case, no schedules were filed by the

 Debtor and the Trustee is still in the process of obtaining additional records.

        51.     In potentially an effort to conceal their activities involving the Debtor, Defendant

 Mendoza and Defendant Taitz failed to maintain complete books and records for the Debtor.

 During the 341 Meeting and in separate conversations with the Trustee, Defendant Mendoza

 readily admitted that the financial records of the Debtor are not up to date. The Debtor did not

 maintain accurate books and records and has not filed tax returns since 2019. Debtor’s former

 accountants at Williams Benator & Libby, LLP advised the Trustee that they had very limited

 contact with the Debtor since the 2019 tax return was filed.

        52.     While the Trustee has obtained limited documents to date, the Trustee does not

 have all information regarding the bank accounts of the Debtor and has not untangled the financial

 records of the Debtor. Other than the corporate minute books and being shown a backroom with

 dated business records from 5- 10 years old, the Trustee has received virtually no current paper

 documents from the Debtor and was only provided access to Oracle accounting system and an

 email system. Defendant Mendoza testified at the 341 Meeting that the accounting in Oracle was

 not kept up to date. The Trustee recently learned of 384 boxes that are in storage and has not yet

 inspected or aware if any of the records are from the past few years.

        53.     The Trustee is aware that the Debtor had at least one account with PNC Bank (the

 “PNC Bank Account”) and is in the process of obtaining statements regarding all known accounts

 of the Debtor. The Trustee is also in the process of obtaining information regarding accounts at

 Atlantic Capital Bank and Tandem Bank (“Tandem”).

        54.     The Defendants have not assisted with this situation and have yet to produce

 information to allow the Trustee to address issues regarding all transfers to the Defendants. Indeed,


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 the Debtor has not produced any current paper records to the Trustee and Defendant Mendoza has

 stated she cannot prepare the Debtor’s schedules without bank account records from Atlantic

 Capital Bank and Tandem.

        55.        Defendants Mendoza and Taitz, along with the corporate Defendants, continue to

 conceal the records and prior activity of the Debtor and the Trustee otherwise currently lacks all

 records of the Debtor. Under the circumstances, there is significant uncertainty with regard to the

 use of funds and the disposition of the assets of the Debtor.

        56.        The Trustee anticipates that a full and complete accounting by the Defendants and

 additional documentation, information, and investigation will provide further understanding of

 transactions involving the Debtor and potential causes of action. Upon information and belief, the

 Trustee has enough information to establish a pattern of activity and fraudulent transfers to file

 this complaint.

        57.        Upon information and belief, the Defendants have failed to produce and account

 for all records and property of the Debtor.

    B. The Operations of the Debtor

        58.        The Debtor was founded by Gary Root in approximately 1981.

        59.        The Debtor maintained a successful lighting business for decades with a large

 customer base and innovative products.

        60.        As the Debtor grew, the Debtor moved in the early 1990’s into a lighting warehouse

 and showroom located at 2109 Mountain Industrial Blvd., Tucker, GA 30084 (the “Tucker

 Location”). The Debtor would also lease certain property located at 2 Sun Court, Suite 460,

 Peachtree Corners GA, 30092 (the “Peachtree Corners Location”).




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        61.     Jesse Root (“Root”) worked in the family business that his father founded

 beginning in approximately 2008, moving from being an account manager to sales manager and

 Vice President of Sales in charge of the entire sales function of the Debtor.

        62.     After the death of Gary Root in 2017, Root and his brother, Doug Root (“Doug

 Root”) became co-owners of the of the Debtor.

        63.     Upon information and belief, Defendant Mendoza and Defendant Taitz decided at

 some point to usurp the business and divert funds of the Debtor for their personal benefit directly

 or indirectly through related parties such as Defendants AES and Lumos.

        64.     Pursuant to a certain Stock Purchase Agreement dated September 30, 2019 (the

 “Mendoza Purchase Agreement”), Defendant Mendoza, who had worked at the Debtor for

 several years at such time, purchased 50% of the Debtor from Doug Root. The remaining 50% of

 the Debtor was held by Root.

        65.     Beginning approximately September 30, 2019, Defendant Mendoza served as the

 chief executive officer of the Debtor. Defendant Taitz is also listed as the CEO in a filing with

 Georgia Secretary of State.

        66.     Pursuant to an affidavit by Root filed in the Bankruptcy Case as Docket No. 47,

 Root raised questions regarding the finances of the Debtor and requested access to certain financial

 data (the “Root Affidavit”). A copy of the Root Affidavit is attached hereto as Exhibit A and

 incorporated herein by reference.

        67.     Root has informed the Trustee that, after Defendant Mendoza took control of the

 Debtor, Root noticed various financial irregularities at the business and, as the 50% owner of the

 Debtor, requested that Defendant Mendoza provide financial information and access to the books

 and records of the Debtor.


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        68.     Root has further informed the Trustee that Defendant Mendoza refused to provide

 him with access to the financial records requested by him and fired him.

        69.     Although the facts regarding Root’s departure are disputed, it is undisputed that

 Defendant Mendoza took full control of the operations and finances of the debtor in or around

 September, 2021, if not earlier.

        70.     After obtaining control of the Debtor, Defendant Mendoza hired her significant

 other, Defendant Taitz, to work for the Debtor as the Chief Operations Officer. Defendant Taitz is

 also listed as CEO on filing with Georgia Secretary of State.

        71.     Upon information and belief, Defendant Mendoza also hired family members

 and/or family members of Defendant Taitz to work for the Debtor.

        72.     Upon information and belief, Defendant Mendoza and Defendant Taitz exercised

 control over the operations and decisions of the Debtor at all times relevant to this Complaint.

        73.     Root engaged legal counsel to assist in reviewing certain activities of Defendant

 Mendoza, Defendant Taitz, and the Debtor, including the uses of funds of the Debtor, that Root

 alleges were purportedly concealed from Root despite his 50% ownership of the company.

        74.     Pursuant to a pleading filed by Root as Docket No. 41 in the Bankruptcy Case,

 counsel for Root engaged Mr. Bill Jennings (“Mr. Jennings”), a forensic accountant, certified

 fraud examiner, and private investigator, with over 40 years of experience in forensic

 investigations and fraud investigations, to assist in that process of reviewing the limited financial

 data available with regard to the Debtor.

        75.     Mr. Jennings determined that, during the time period from October 9, 2019, to

 August 16, 2021, the Debtor paid Defendant Mendoza at least $556,000.00 and Defendant Taitz

 at least $1,271,323.00 by the Debtor.


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        76.     During the period from August 17, 2021 through May 2022, the Trustee has

 identified $515,195.96 in additional payments to Defendant Mendoza and $877,294.78 in

 additional payments to Defendant Taitz.

        77.     Based on information available, the total identified by Mr. Jennings and the Trustee

 for the period October 9, 2019 through May 2022 paid to Defendant Mendoza is at least

 $1,071,195.96 and the amount paid to Defendant Taitz is at least $2,148,617.78.

        78.     During the period when Defendant Mendoza and Defendant Taitz caused the

 Debtor to pay them at least Three Million, Two Hundred Twenty Thousand, Nine Hundred and

 Thirteen Dollars ($3,219,813.74) and possibly more since complete records have not yet been

 obtained, the Debtor was not making necessary payments to Tandem and to trade creditors on

 behalf of the Debtor.

        79.     As a result of such conduct, the Debtor was not paying obligations as they became

 due and the Debtor and creditors of the Debtor were harmed.

    C. Transition

        80.     Rather than conducting and documenting the disposition of the inventory or the

 business of the Debtor, upon information and belief, Defendant Mendoza and Defendant Taitz

 determined that the Debtor would simply no longer operate and transitioned the assets and business

 of the Debtor to themselves and their related entities.

        81.     The Debtor began plotting this transition or “pivot” to the “new” business(es) in

 early February 2022 and possibly earlier.

        82.     Defendant Mendoza indicated at the 341 Meeting in the Chapter 11 case held on

 June 23, 2022, that the Debtor purportedly ceased operations on May 13, 2022 and no longer had




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 any employees after that date. Defendant Mendoza reiterated at the 341 meeting in the Chapter 7

 case held on August 16, 2022, that the Debtor closed its operations on May 13, 2022.

        83.       Defendant Mendoza claims that: a) the Debtor vacated the Tucker Location in

 February, 2022; and b) certain inventory of the Debtor at the Tucker Property was purportedly

 moved to the Peachtree Corners Location before that location was also vacated by the Debtor.

        84.       The Trustee did not locate any inventory at the Peachtree Corners Location and has

 yet to confirm what actually happened to the inventory of the Debtor, but it does not appear that

 the Debtor received any benefit from the disposition of substantial unaccounted for inventory of

 the Debtor. Upon information and belief, Defendant Lumos and/or Defendant AES sold the

 inventory of the Debtor for the benefit of one or more of the Defendants.

        85.       Upon information and belief, the business and certain assets of the Debtor were

 transitioned to Defendant Mendoza, Defendant Taitz, and/or entities under their control.

        86.       Upon information and belief, Defendant Mendoza or Defendant Taitz converted the

 business and assets of the Debtor while keeping many expenses in the name of the Debtor.

        87.       Upon information and belief, various business entities owned or controlled by

 Defendant Mendoza or Defendant Taitz appear to be currently using the Tucker Location.

 Defendants apparently began using the location in February, 2022 and continued to occupy the

 premises on a month-to-month basis pursuant to an email from counsel to landlord under the name

 of Defendant AES.

        88.       Defendant Mendoza stated at the 341 Meeting that Defendant AES, which is owned

 by Defendant Taitz, now operates out of the Tucker Location with many of the former employees

 of the Debtor.




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        89.     Defendant Mendoza confirmed at the Chapter 11 341 meeting of creditors that the

 “new” business at the Tucker Location functions with the former employees and certain assets of

 the Debtor.

        90.     Defendant Mendoza has indicated that a good percentage of the employees working

 at the Tucker Location are former employees of the Debtor and that former employees retained at

 least certain computers of the Debtor.

        91.     On or about May 13, 2022, Defendant Mendoza and Defendant Taitz began

 operating Lumos as a distributor of various lighting supplies through the website

 www.lumossupplies.com. While the website of the Debtor is no longer available, the product mix

 on the website for Lumos appears to very similar to the products sold by the Debtor.

        92.     The Trustee has access to the emails of the Debtor (@atlantalightbulbs.com) and

 has located many emails from former employees of the Debtor sent under @lumossupplies.com

 email addresses to former customers and vendors of the Debtor after the May 13, 2022 transition

 to Lumos. The following are examples of communications referencing the “transition” of the

 business of the Debtor to Lumos.

                (a) Hello   (Customer),   I   am     reaching   out   on   behalf   of   our   new

                   company, Lumos Supplies (formerly Atlanta Light Bulbs). Atlanta Light Bulbs

                   has been acquired by new ownership and we are up and running with extensive

                   stock and a great line card of lighting and electrical products. We hope that

                   you will consider making us your go-to distributor as you did with the previous

                   company. If you have any questions, please let me know! See Draft email located

                   in Kevin Taylor’s email box (May 13, 2022).




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               (b) It’s Ashlee, as you can see by my email, we are now Lumos Supplies. See Email

                   from Ashlee Harris to former ALB customer (May 18, 2022).

               (c) As you can see from my email, we are no (sic) Lumos Supplies. See Email

                   from Kevin Taylor to former ALB Customer (May 20, 2022).

               (d) We are now Lumos Supplies so your invoice will come from Lumos. See Email

                   from Keven Taylor to former ALB customer (May 25, 2022).

               (e) ALB has been acquired and are now Lumos Supplies. We will be fulfilling your

                   order under this name. See Email from Evan Mellies to former ALB customer

                   (June 1, 2022).

               (f) ALB has been acquired and are now Lumos Supplies. We will be fulfilling your

                   order under this name. See Email from Evan Mellies to former ALB customer

                   (June 2, 2022).

               (g) Thank you for your inquiry into Atlanta Light Bulbs. We are now under new

                   ownership and operating under the name Lumos Supply. See Email from Evan

                   Mellies to former ALB customer (June 22, 2022).

               (h) Completely forgot that this is your new business "
                                                                    % – See Email from ALB
                                                                    $
                                                                    #

                   vendor to Jessica Mendoza (July 8, 2022).

        93.    According to the Debtor’s books and records, the book value of the Debtor’s

 inventory as of the conversion date was $146,616.88. The inventory value of $146,616.88 is after

 a series of inventory adjustments between May 18, 202 and June 16, 2022 totaling $9,244.21. Such

 period is after the Debtor purportedly ceased operations on May 13, 2022.

        94.    Based on the company books and records, the Debtor purchased at least the

 following assets for the price listed in years 2019 and 2020: (1) Vestil Battery Operated Lift


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 Stacker ($3,256.20); (2) Heavy Duty Shelf Trucks ($4,774.68); (3) New Warehouse Mgmt System

 / RF Smart Equipment ($8,117.61); (4) Jessica [Mendoza]’s New Computer w/2 Monitors

 ($3,064.56); (5) Robert [Taitz]’s Laptop ($2,637.98); (6) Warehouse PCs(3) + Alex’s new Surface

 Book 2 ($3,987.88); (7) MS Surface Book 2 ($3,092.67); (8) 4 27” Monitors + 2 ASUS 14” laptops

 ($2,591.94); (9) 2 ASUS 14” laptop + AUS 15.6” laptop ($2,159.97). The Trustee did not locate

 any of these assets at the Tucker Location.

        95.     Notwithstanding that the Debtor is no longer receiving any benefit, the Trustee has

 discovered that certain related expenses, such as the water/sewer bill for the Tucker Location, have

 remained in the name of the Debtor through the end of June and, as such, the Trustee has been

 forced to contact various vendors to terminate services that did not belong to the Debtor.

    D. Tandem

        96.     On September 2, 2020, the Debtor executed and delivered to Tandem a Promissory

 Note (the “Note”) evidencing a revolving line of credit in the maximum principal amount of

 $600,000.00 (the Note along with any guaranty agreements, security agreement, UCC financing

 statement, and any and all other documents or instruments relating to the same are hereinafter

 referred to as the “Loan Documents” and the amount due under the Loan Documents is referred

 to as the “Indebtedness”).

        97.     At all times relevant to this Complaint, the Debtor maintained a deposit account

 with Tandem (the “Tandem Bank Account”).

        98.     Prior to the Petition Date, on April 8, 2022, Tandem filed a complaint as the holder

 of the Indebtedness against Defendant Taitz and Defendant Mendoza to initiate Case No.

 2022CV363194 in the Superior Court of Fulton County, State of Georgia (the “Tandem Action”).




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 In the Tandem Action, Tandem, inter alia, asserted that Defendant Taitz and Defendant Mendoza

 breached their duties and diverted assets of the Debtor for their own benefit.

        99.     The complaint filed in the Tandem Action notes that, during the 7 and ½ months

 between January 5, 2021, and August 16, 2021, Defendant Taitz received 54 large dollar payments

 totaling $978,553.00 from the Tandem Bank Account and Defendant Mendoza received 2 large

 dollar check totaling $43,500. Such analysis does not include any transfers by the Debtor from a

 source other than the Tandem Bank Account or payments made for the benefit of Defendants Taitz

 or Mendoza.

        100.    Many, if not all of, the claims and causes of action asserted by Tandem are property

 of the Estate in the Bankruptcy Case.

    E. Questionable Self-Interested Transactions

        101.    The Trustee is investigating the circumstances of several self-interested

 transactions that appear to be questionable.

        102.    As further set forth herein, the Transfers (as defined herein) were made to an insider

 or an entity of an insider and are avoidable by the Trustee.

        103.    Additional questionable transfers arise from payments issued to satisfy obligations

 of Defendant Mendoza under the Mendoza Purchase Agreement. Upon information and belief,

 Defendant Mendoza caused the Debtor to issue payments that were used to pay Doug Root for

 obligations she owed under the Mendoza Purchase Agreement (the “Stock Purchase Payments”).

        104.    Upon information and belief, notwithstanding that it does not appear that the Debtor

 had any obligation to issue such payments, the Debtor issued payments that were used to satisfy

 obligations of Defendant Mendoza under the Mendoza Purchase Agreement. The Debtor did not

 have an obligation to pay such amounts and does not appear to have received reimbursement for


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 such amounts. Defendant Mendoza should have paid such amounts from her own monies in order

 to satisfy her obligations under the Mendoza Purchase Agreement.

         105.    According to the statements for the PNC Bank Account, the Debtor received a

 payment in the amount of $1,500,000.00 on February 1, 2022 from the United States Small

 Business Administration as an Economic Injury Disaster Loan (the “EIDL Loan”).

         106.    Almost immediately after receiving $1,500,000.00 on February 1, 2022, Defendant

 Mendoza and/or Defendant Taitz caused the Debtor to wire $108,333.42 to Defendant Mendoza

 and $108,333.42 to Defendant Taitz. Soon thereafter, on February 14, 2022, $633,289.70 was

 wired by the Debtor to Defendant AES incident to one of the AES Transfers (as defined below).

         107.    Upon information and belief, the purpose of obtaining the EIDL Loan appears to

 be that the EIDL Loan was procured to benefit one or more of the Defendants rather than the

 Debtor.

         108.    The EIDL Loan caused the Debtor to incur additional debt to the detriment of the

 Debtor and then existing creditors of the Debtor.

         109.    The Trustee continues to investigate the use of proceeds from the EIDL Loan.

     F. Transfers

         110.    During the period where the Debtor was facing financial difficulties and was

 insolvent or in the vicinity of insolvency, Defendants: a) received significant transfers of assets

 from the Debtor; and b) diverted assets of the Debtor to Defendants to the detriment of the Debtor

 and its creditors.

         111.    During the period beginning January 1, 2021, through February 2, 2022, the

 statements for the Tandem Bank Account and PNC Bank Account indicate that Defendant Taitz

 received payments totaling at least $1,855,847.36 (the “Taitz Tandem and PNC Transfers”).


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 The details of each of the Taitz Tandem and PNC Transfers is set forth on Exhibit B attached

 hereto and incorporated by reference.

        112.    Although the Trustee intends to seek to avoid and recover such amounts if

 avoidable, the foregoing does not include: a) payments directly paid to credit cards in the name of

 Defendant Taitz; b) payments through payroll; c) payment for Defendant Taitz’s benefit; d)

 payments to or for AES or the other businesses of Defendant Taitz; e) payments to Defendant Taitz

 through the SunTrust and Atlantic Capital Bank accounts of the Debtor; f) transfers to Defendant

 Taitz controlled entities; or g) all transfers within the four years prior to the Petition Date (the

 “Other Taitz Transfers” and collectively with the Taitz Tandem and PNC Transfers, the “Taitz

 Transfers”).

        113.    During the period beginning January 1, 2021, through May 20, 2022, the statements

 for the Tandem Bank Account and PNC Bank Account indicate that Defendant Mendoza received

 payments totaling at least $558,695.96 (the “Mendoza Tandem and PNC Transfers”). The

 details of each of the Mendoza Tandem and PNC Transfers is set forth on Exhibit C attached

 hereto and incorporated by reference.

        114.    Although the Trustee intends to seek to avoid and recover such amounts if

 avoidable, the foregoing does not include: a) payments directly paid to credit cards in the name of

 Defendant Mendoza; b) payments through payroll; c) payment for Defendant Mendoza’s benefit;

 d) payments to or for other businesses of Defendant Mendoza; e) payments to Defendant Mendoza

 through the SunTrust and Atlantic Capita l Bank accounts of the Debtor; f) the Stock Purchase

 Payments; g) transfers to Defendant Mendoza controlled entities; or h) all transfers within the four

 years prior to the Petition Date (the “Other Mendoza Transfers” and collectively with the

 Mendoza Tandem and PNC Transfers, the “Mendoza Transfers”).


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        115.    On February 14, 2022 the Debtor wired $633,289.70 to Defendant AES (the “AES

 Wire”).

        116.    On February 14, 2022, the Debtor paid $46,000 to Jeff B. Chandler of Chandler

 and Sons Services for the purchase of a 2013 Dodge Ram 5500 Truck (“Truck”). Although the

 Truck was purchased by the Debtor, the Truck was titled in the name of AES without the Debtor

 being reimbursed (the AES Wire and the transfer of the Truck are collectively the “AES

 Transfers”).

        117.    The Trustee anticipates that, during the course of this Adversary Proceeding,

 Plaintiff may learn (through discovery or otherwise) of additional transfers of money or other

 property of the Debtor made to one or more of the Defendants during the four (4) years prior to the

 Petition Date (the “Additional Transfers”). To the extent that the Trustee discovers the existence

 of additional transfers to one or more of any of the Defendants or their related entities that is

 avoidable, Plaintiff intends to avoid and recover all transfers of property or an interest of the

 Debtor to or for the benefit of any of the Defendants during the four (4) years prior to the Petition

 Date (collectively, the Taitz Transfers, Mendoza Transfers, AES Transfers, and Additional

 Transfers are the “Transfers”). This Complaint is not limited to the Transfers disclosed as part of

 the defined term.

        118.    Upon information and belief, the Debtor was insolvent at the time of each of the

 Transfers or was rendered insolvent as a result of the Transfers.

        119.    The Transfers were made in response to the inability of the Debtor to pay its debts

 as they came due, and with Defendants’ knowledge that the Debtor would not be able to pay its

 obligations such as the Indebtedness as they became due.




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         120.   Defendants have failed to produce sufficient financial information regarding the

 Debtor in an attempt to hide the Transfers, the insolvency of the Debtor and other relevant

 information.

         121.   The lack of financial information about the Debtor hindered the ability of creditors

 to analyze the performance of the Debtor, the propriety of its financial transactions, and the risk

 associated with transacting business with the Debtor.

         122.   Defendants caused the Debtor to complete the Transfers with the actual intent to

 hinder, delay or defraud the creditors of the Debtor.

         123.   The following “badges of fraud” evidence the underlying fraudulent intent of the

 Transfers: (a) one or more of the Transfers was made to an insider of the Debtor or to affiliates of

 one or more of the Defendants who are insiders of the Debtor; (b) the Debtor did not receive

 reasonably equivalent value, if any value, in exchange for one or more of the Transfers; (c) the

 Debtor was insolvent or became insolvent shortly after one or more of the Transfers was made;

 and (d) one or more of the Transfers occurred shortly before or after a substantial debt was

 incurred.

         124.   Upon information and belief, the Defendants did not provide the Debtor with

 reasonably equivalent value for the Transfers.

         125.   Upon information and belief, to the extent that any Transfers were not on account of

 an antecedent debt, the Debtor did not receive reasonably equivalent value in exchange for such

 transfers.

         126.   Upon information and belief, the Transfers were made for less than reasonably

 equivalent value during the time that the Debtor was insolvent or such transfers rendered the Debtor




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 insolvent and were made with the actual or constructive intent to hinder, delay or defraud creditors

 of the Debtor.

     G. Luxury Purchases

         127.     On or about August 2, 2021, Defendant Taitz and Defendant Mendoza entered into

 a contract to purchase the real estate and improvements commonly known as 3860 Falls Landing

 Drive in Alpharetta, Fulton County, Georgia (as more particularly described in the Warranty Deed

 the “Falls Landing Property”), with a list price of $900,000.

         128.     The next day on August 3, 2021, Defendant Mendoza contacted United States

 Congressman Hank Johnson, 4th Congressional District of Georgia for assistance with a denied

 EIDL loan amount increase. In the correspondence Defendant Mendoza states, among other things,

 “We have been severely impacted by the pandemic and its disruption to the supply chain, as many

 have.” and “…please expedite our reconsideration, so we can keep our doors open.” and “we are

 all fighting hard to survive, we just need a little help.”

         129.     On August 31, 2021, despite being barely able to keep the doors open, Defendant

 Taitz and Defendant Mendoza jointly purchased the Falls Landing Property from for a stated

 purchase price of $926,000.00.

         130.     Defendant Taitz and Defendant Mendoza financed a portion of their purchase of

 the Falls Landing Property through two loans from Georgia’s Own Credit Union totaling a stated

 principal amount of $833,400.00, leaving at least $92,600.00 to be paid out of pocket.

         131.     Also on August 31, 2021, the Debtor sent a wire transfer for $107,046.13 to

 Defendant Taitz, which based on the timing and amount, likely was used for the balance of the

 purchase price of the Falls Landing Property.




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         132.   In fact, between contacting Congressman Johnson on August 3, 2021 and the

 closing on Falls Landing Property on August 31, 2021, the Debtor transferred a total of

 $186,613.81 to Defendant Taitz.

         133.   Upon information and belief, Defendant Taitz and Defendant Mendoza recently

 sold the Falls Landing Property and received substantial proceeds for herself as a result of such

 sale.

         134.   On or about March 12, 2020, Defendant Taitz purchased a “2020 Porsche

 Cayenne” (identified by VIN number WP1AF2AY7LDA39344).

         135.   On or about June 25, 2020, Defendant Taitz and Defendant Mendoza purchased a

 “2019 Audi Q8” (identified by VIN number WA1FVBF17KD034367).

         136.   On or about January 28, 2021, Defendant Taitz purchased a “2021 BMW X5”

 (identified by VIN number 5YMJU0C03M9F10309).

         137.   On or about August 25, 2021, Defendant Taitz and Defendant Mendoza purchased

 a “2021 Audi RS” (identified by VIN number WU1ARBF13MD005961).

         138.   Plaintiff anticipates that discovery will show that the (a) the Falls Landing Property,

 (b) 2020 Porsche Cayenne; (c) 2019 Audi Q8; (d) 2021 BMW X5; (e) 2021 Audi RS; and (f) truck

 bought for the benefit of AES were acquired with the proceeds of the Transfers and any loan

 payments associated with the same have been paid using proceeds of the Transfers that are property

 of the Estate of the Debtor.

     H. Reservation of Rights

         139.   The Plaintiff reserves the right to amend this original Complaint, including, but not

 limited, to: (a) include further information regarding the Transfers or any other transfers of property

 of the Estate; (b) include additional transfers; (c) include modifications of and/or revision to the


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 name of the Defendants; (d) name and serve John Does 1 – 10 as they may be identified during the

 course of discovery in this case; and/or (e) include additional causes of action that may become

 known to Plaintiff at any time during this Adversary Proceeding, through discovery or otherwise.

 Any amendments to this Complaint shall relate back to this original Complaint.

                                FIRST CAUSE OF ACTION
            (Avoidance of 90 Day Preferences – 11 U.S.C. §§ 544, 547, 550, and 551)
                                       (Against AES)

        140.    Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.

        141.    The Debtor made each of the AES Transfers within the 90 days immediately

 preceding the Petition Date to, or for the benefit of, at least one of the Defendants (the “90 Day

 Preference Period”).

        142.    Each of the AES Transfers constitutes a transfer of an interest of property of the

 Debtor.

        143.    Each of the AES Transfers was to, or for the benefit of, a creditor of the Debtor.

        144.    The Debtor made each of the AES Transfers for or on account of an antecedent debt

 that was owed by the Debtor prior to the date of the AES Transfers.

        145.    Each of the AES Transfers was made while the Debtor was insolvent for purposes

 of 547(b)(3) of the Bankruptcy Code. Pursuant to Section 547(f) of the Bankruptcy Code, Plaintiff

 is entitled to the presumption of insolvency for each of the AES Transfers made during the 90 Day

 Preference Period.

        146.    Each of the AES Transfers was made during the 90 Day Preference Period.

        147.    Each of the AES Transfers enabled AES to receive more than AES would have

 received if: (a) the Bankruptcy Case was administered under Chapter 7 of the Bankruptcy Code;


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 (b) the AES Transfers had not been made; or (c) AES had received payment of the debt owed by

 the Debtor to the extent allowable pursuant to the Bankruptcy Code.

         148.    AES was the initial transferee of the AES Transfers or the immediate or mediate

 transferee of such initial transferee or the person for whose benefit the AES Transfers were made.

         149.    Based on the foregoing, each of the AES Transfers constitutes an avoidable

 preferential transfer pursuant to sections 544 and 547(b) of the Bankruptcy Code and, in accordance

 with Sections 550 and 551 of the Bankruptcy Code, the Plaintiff may avoid each of the AES

 Transfers for the benefit of the Estate of the Debtor. Based upon the foregoing and based on

 reasonable due diligence in the circumstances of the case and taking into account known or

 reasonably knowable affirmative defenses under subsection (c) of 547, Plaintiff is entitled to an

 order and judgment against AES: (a) avoiding the AES Transfers under section 547(b) of the

 Bankruptcy Code; and (b) entitling Plaintiff to recover the AES Transfers or the value of the AES

 Transfers under Sections 550 and 551 of the Bankruptcy Code, together with the award of pre and

 post judgment interest to the date of payment or other satisfaction of such order and judgment

 and the costs of this action.

                              SECOND CAUSE OF ACTION
            (Avoidance of 90 Day Preferences – 11 U.S.C. §§ 544, 547, 550, and 551)
                                (Against Taitz and Mendoza)

         150.    Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.

         151.    The Debtor made each of the Taitz Transfers and the Mendoza Transfers that were

 made within the 90 days immediately preceding the Petition Date to, or for the benefit of, at least

 one of the Defendants (the “TM Preferential Transfers”) during the 90 Day Preference Period.

 The details of each of the TM Preferential Transfers of which the Trustee has verified based on


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 incomplete information and documentation is set forth on Exhibit D attached hereto and

 incorporated by reference. Additional transfers may be added as further information and

 documentation becomes available to the Trustee.

           152.   Each of the TM Preferential Transfers constitutes a transfer of an interest of property

 of the Debtor.

           153.   Each of the TM Preferential Transfers was to, or for the benefit of, a creditor of the

 Debtor.

           154.   The Debtor made each of the TM Preferential Transfers for or on account of an

 antecedent debt that was owed by the Debtor prior to the date of the TM Preferential Transfers.

           155.   Each of the TM Preferential Transfers was made while the Debtor was insolvent for

 purposes of 547(b)(3) of the Bankruptcy Code. Pursuant to Section 547(f) of the Bankruptcy Code,

 Plaintiff is entitled to the presumption of insolvency for each of the TM Preferential Transfers made

 during the 90 Day Preference Period.

           156.   Each of the TM Preferential Transfers was made during the 90 Day Preference

 Period.

           157.   Each of the TM Preferential Transfers enabled Defendants Mendoza and/or Taitz to

 receive more than Defendants Mendoza and/or Taitz would have received if: (a) the Bankruptcy

 Case was administered under Chapter 7 of the Bankruptcy Code; (b) the TM Preferential Transfers

 had not been made; or (c) Defendants Mendoza and/or Taitz had received payment of the debt owed

 by the Debtor to the extent allowable pursuant to the Bankruptcy Code.

           158.   Defendants Mendoza and/or Taitz was the initial transferee of the TM Preferential

 Transfers or the immediate or mediate transferee of such initial transferee or the person for whose

 benefit the TM Preferential Transfers were made.


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         159.   Based on the foregoing, each of the TM Preferential Transfers constitutes an

 avoidable preferential transfer pursuant to sections 544 and 547(b) of the Bankruptcy Code and, in

 accordance with Sections 550 and 551 of the Bankruptcy Code, the Plaintiff may avoid each of the

 TM Preferential Transfers for the benefit of the Estate of the Debtor.

         160.   Based upon the foregoing, and based on reasonable due diligence in the

 circumstances of the case and taking into account known or reasonably knowable affirmative

 defenses under subsection (c) of 547, Plaintiff is entitled to an order and judgment: (a) avoiding the

 TM Preferential Transfers under section 547(b) of the Bankruptcy Code; and (b) entitling Plaintiff

 to recover the TM Preferential Transfers or the value of the TM Preferential Transfers under

 Sections 550 and 551 of the Bankruptcy Code, together with the award of pre and post judgment

 interest to the date of payment or other satisfaction of such order and judgment and the costs of

 this action.

                               THIRD CAUSE OF ACTION
           (Avoidance of One Year Preferences – 11 U.S.C. §§ 544, 547, 550, and 551)
                                       (Against Taitz)

         161.   Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.

         162.   Defendant Taitz is an insider of the Debtor.

         163.   The Debtor made each of the Transfers made to Defendant Taitz between April 15,

 2021 through April 14, 2022, (the “Taitz One Year Transfers”) within the year immediately

 preceding the Petition Date to, or for the benefit of, at least one of the Defendants (the “One Year

 Preference Period”). The details of each of the Taitz One Year Transfers of which the Trustee

 has verified based on incomplete information and documentation is set forth on Exhibit E attached




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 hereto and incorporated by reference. Additional transfers may be added as further information

 and documentation becomes available to the Trustee.

           164.   Each of the Taitz One Year Transfers constitutes a transfer of an interest of property

 of the Debtor.

           165.   Each of the Taitz One Year Transfers was to, or for the benefit of, a creditor of the

 Debtor.

           166.   The Debtor made each of the Taitz One-Year Transfers for or on account of an

 antecedent debt that was owed by the Debtor prior to the date of the Taitz One Year Transfers.

           167.   Each of the Taitz One Year Transfers was made while the Debtor was insolvent for

 purposes of 547(b)(3) of the Bankruptcy Code. Pursuant to Section 547(f) of the Bankruptcy Code,

 Plaintiff is entitled to the presumption of insolvency for each of the Taitz One Year Transfers made

 during the One Year Preference Period.

           168.   Each of the Taitz One Year Transfers was made during the One Year Preference

 Period.

           169.   Each of the Taitz One Year Transfers enabled Defendant Taitz to receive more than

 he would have received if: (a) the Bankruptcy Case was administered under Chapter 7 of the

 Bankruptcy Code; (b) the Taitz One Year Transfers had not been made; or (c) Defendant Taitz had

 received payment of the debt owed by the Debtor to the Defendants to the extent allowable pursuant

 to the Bankruptcy Code.

           170.   Defendant Taitz was the initial transferee of the Taitz One Year Transfers or the

 immediate or mediate transferee of such initial transferee or the person for whose benefit the Taitz

 One Year Transfers were made.




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        171.    Based on the foregoing, each of the Taitz One Year Transfers constitutes an

 avoidable preferential transfer pursuant to sections 544 and 547(b) of the Bankruptcy Code and, in

 accordance with Sections 550 and 551 of the Bankruptcy Code, the Plaintiff may avoid each of the

 Taitz One Year Transfers for the benefit of the Estate of the Debtor.

        172.    Based upon the foregoing, Plaintiff is entitled to an order and judgment against

 Defendant Taitz: (a) avoiding the Taitz One Year Transfers under section 547(b) of the Bankruptcy

 Code; and (b) entitling Plaintiff to recover the Taitz One Year Transfers or the value of the Taitz

 One Year Transfers under Sections 550 and 551 of the Bankruptcy Code, together with the award

 of pre and post judgment interest to the date of payment or other satisfaction of such order and

 judgment and the costs of this action.

                             FOURTH CAUSE OF ACTION
          (Avoidance of One Year Preferences – 11 U.S.C. §§ 544, 547, 550, and 551)
                                   (Against Mendoza)

        173.    Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.

        174.    Defendant Mendoza is an insider of the Debtor.

        175.    The Debtor made each of the Transfers made to Defendant Mendoza between April

 15, 2021 through April 14, 2022, (the “Mendoza One Year Transfers”) within the year

 immediately preceding the Petition Date to, or for the benefit of, at least one of the Defendants. The

 details of each of the Mendoza One Year Transfers of which the Trustee has verified based on

 incomplete information and documentation is set forth on Exhibit F attached hereto and

 incorporated by reference. Additional transfers may be added as further information and

 documentation becomes available to the Trustee.




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           176.   Each of the Mendoza One Year Transfers constitutes a transfer of an interest of

 property of the Debtor.

           177.   Each of the Mendoza One Year Transfers was to, or for the benefit of, a creditor of

 the Debtor.

           178.   The Debtor made each of the Mendoza One-Year Transfers for or on account of an

 antecedent debt that was owed by the Debtor prior to the date of the Mendoza One Year Transfers.

           179.   Each of the Mendoza One Year Transfers was made while the Debtor was insolvent

 for purposes of 547(b)(3) of the Bankruptcy Code. Pursuant to Section 547(f) of the Bankruptcy

 Code, Plaintiff is entitled to the presumption of insolvency for each of the Mendoza One Year

 Transfers made during the One Year Preference Period.

           180.   Each of the Mendoza One Year Transfers was made during the One Year Preference

 Period.

           181.   Each of the Mendoza One Year Transfers enabled Defendant Mendoza to receive

 more than she would have received if: (a) the Bankruptcy Case was administered under Chapter 7

 of the Bankruptcy Code; (b) the Mendoza One Year Transfers had not been made; or (c) Defendant

 Mendoza had received payment of the debt owed by the Debtor to the Defendants to the extent

 allowable pursuant to the Bankruptcy Code.

           182.   Defendant Mendoza was the initial transferee of the Mendoza One Year Transfers

 or the immediate or mediate transferee of such initial transferee or the person for whose benefit the

 Mendoza One Year Transfers were made.

           183.   Based on the foregoing, each of the Mendoza One Year Transfers constitutes an

 avoidable preferential transfer pursuant to sections 544 and 547(b) of the Bankruptcy Code and, in




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 accordance with Sections 550 and 551 of the Bankruptcy Code, the Plaintiff may avoid each of the

 Mendoza One Year Transfers for the benefit of the Estate of the Debtor.

        184.      Based upon the foregoing, Plaintiff is entitled to an order and judgment against

 Defendant Mendoza: (a) avoiding the Mendoza One Year Transfers under section 547(b) of the

 Bankruptcy Code; and (b) entitling Plaintiff to recover the Mendoza One Year Transfers or the

 value of the Mendoza One Year Transfers under Sections 550 and 551 of the Bankruptcy Code,

 together with the award of pre and post judgment interest to the date of payment or other

 satisfaction of such order and judgment and the costs of this action.

                              FIFTH CAUSE OF ACTION
        (Avoidance of Fraudulent Conveyances – 11 U.S.C. §§ 544, 548, 550, and 551)
                        (Against all Defendants as to the Transfers)

        185.      Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.

        186.      The Debtor made the Transfers that were made within two years of the Petition Date

 to or for the benefit of one of the Defendants within the two years immediately preceding the

 Petition Date.

        187.      Each of the Transfers was made by the Debtor and constitutes a transfer of an interest

 of the property of the Debtor or obligation incurred by the Debtor without consideration.

        188.      Upon information and belief, the Debtor received no direct benefit from each of the

 Transfers.

        189.      Each of the Transfers was made with the actual intent to hinder, delay, or defraud

 an entity to which the Debtor was or became, indebted on or after the date that each of the fraudulent

 conveyances was made or such obligation was incurred by the Debtor.




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          190.    In the alternative, the Debtor received less than reasonably equivalent value in

 exchange for each of the Transfers and the Debtor:

     a.      was insolvent on the dates that the Transfers were made or such obligations were

             incurred, or became insolvent as a result of the Transfers or the related obligations;

     b.      was engaged in business or a transaction, or was about to engage in business or

             transaction, for which any property remaining with the Debtor was an unreasonably

             small amount of capital;

     c.      intended to incur, or believed that the Debtor would incur, debts that would be beyond

             the ability of the Debtor to pay as such debts matured; or

     d.      made the transfer to or for the benefit of an insider, or incurred such obligation to or

             for the benefit of an insider, under an employment contract or not in the ordinary course

             of business.

          191.    Based on the foregoing, each of the Transfers constitute an avoidable fraudulent

 transfer or obligation incurred without consideration pursuant to Sections 544 and 548 of the

 Bankruptcy Code and, in accordance with Sections 550 and 551 of the Bankruptcy Code, the

 Plaintiff may avoid the Transfers and any amounts associated with such obligations.

                                    SIXTH CAUSE OF ACTION
                                (Avoidance of Fraudulent Transfers)
                 (11 U.S.C. §§ 544, 550, and 551 and O.C.G.A §§ 18-2-74 & 18-2-75)
                             (Against all Defendants as to the Transfers)

          192.    Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.

          193.    The Debtor made at least one of the Transfers to or for the benefit of one of the

 Defendants within the four years immediately preceding the Petition Date.




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        194.    Each of the Transfers was made by the Debtor and constitute a transfer of an interest

 of the property of the Debtor or obligation incurred by the Debtor without consideration.

        195.    Upon information and belief, the Debtor received no direct benefit from the

 Transfers.

        196.    Upon information and belief, the Debtor did not receive reasonably equivalent

 value in exchange for each of the Transfers when the Debtor: (a) was engaged or was about to

 engage in a transaction for which the remaining assets of the Debtor were unreasonably small in

 relation to the business or transaction; (b) intended to incur, or believed or reasonably should have

 believed that the Debtor would incur, debts beyond its ability to pay as such debts became due; or

 (c) was insolvent.

        197.    In the alternative, each of the Transfers was incurred by the Debtor and made with

 the actual intent to hinder, delay, or defraud a creditor of the Debtor.

        198.    The Debtor had at least one creditor who could have avoided each of the Transfers.

        199.    All conditions precedent to bring this action have been performed or have occurred.

        200.    Based on the foregoing, each of the Transfers constitute avoidable fraudulent

 transfers or obligations incurred without consideration pursuant to O.C.G.A §§ 18-2-74 and/or 18-

 2-75 and Section 544 of the Bankruptcy Code and, in accordance with Sections 550 and 551 of the

 Bankruptcy Code, the Plaintiff may avoid the Transfers and any amounts associated with such

 obligations from the Defendants.

                            SEVENTH CAUSE OF ACTION
        (Recovery and Preservation of Avoided Transfers – 11 U.S.C. §§ 550 and 551)

        201.    Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.




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        202.    To the extent that any transfers, including the Transfers, are avoided (collectively,

 “Avoided Transfers”), the Plaintiff may preserve and recover such transfers or obligations

 pursuant to Sections 550 and 551 of the Bankruptcy Code.

        203.    One of the Defendants was the initial transferee of the Avoided Transfers or the

 immediate or mediate transferee of such initial transferee or the person for whose benefit the

 Avoided Transfers were made.

        204.    Pursuant to Sections 550 and 551 of the Bankruptcy Code, the Plaintiff is entitled

 to preserve and recover the transfers, plus interest thereon to the date of payment and the costs of

 this action, for the benefit of the Estate of the Debtor.

                               EIGHTH CAUSE OF ACTION
                              (Legal and Equitable Accounting)
          (11 U.S.C. § 105 and Rule 6002 of the Bankruptcy Rules and Georgia Law)

        205.    Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.

        206.    Among the statutory duties of a debtor, a “debtor shall appear and submit to

 examination under oath at the meeting of creditors under section 341(a) . . . Creditors, . . .any

 trustee . . . in the case, or the United States Trustee may examine the debtor.” 11 U.S.C. § 343;

 see also Fed. R. Bankr. P. 4002(a)(1) (providing that a debtor shall “attend and submit to an

 examination at the times ordered by the court”). In instances where a trustee is serving in the case,

 a debtor shall “cooperate with the trustee as necessary to enable the trustee to perform the trustee’s

 duties.” 11 U.S.C. § 521(a)(3); see also Fed. R. Bankr. P. 4002(a)(4) (providing that a debtor shall

 “cooperate with the trustee in the preparation of an inventory, the examination of proofs of claim,

 and the administration of the estate).




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         207.    As former officers of the Debtor, Defendants Taitz and Mendoza should not now

 be permitted to avoid the responsibility of satisfying the obligations of the Debtor to cooperate

 with the Trustee.

         208.    Rule 6002 further provides that at a “custodian required by the Code to deliver

 property in the custodian’s possession or control to the trustee shall promptly file and transmit to

 the United States trustee a report and account with respect to the property of the estate and the

 administration thereof.”

         209.    In addition to the duties and obligations imposed by the Bankruptcy Code,

 Defendants are required to account to the Trustee for the assets and records of the Debtor under

 Georgia Law.

         210.    One or more of the Defendants either have possession or control of assets or

 business records of the Debtor or have information regarding the assets or business records of the

 Debtor.

         211.    One or more of the Defendants have failed to: (a) cooperate with the Trustee as

 necessary to enable the Trustee to perform the duties of the Trustee; (b) report and account with

 respect to the property of the estate of the Debtor; (c) account to Plaintiff for all transfers received

 by the Defendants and any profits and any special benefits obtained as a result of any breach of

 fiduciary duties by either of the Defendants; or (d) have intentionally hidden and absconded with

 the assets and business records of the Debtor.

         212.    Accordingly, Plaintiff respectfully requests that the Court enter an order directing

 and compelling the Defendants to report and account with respect to property of the estate of the

 Debtor, for all damages cause by the Defendants, and all transfers received by the Defendants and




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 any profits and any special benefits obtained as a result of any breach of fiduciary duty by

 Defendant Mendoza or Defendant Taitz.

                                NINETH CAUSE OF ACTION
                 (Turnover of Property of the Estate – 11 U.S.C. §§ 541 and 542)
                                     (as to All Defendants)

         213.    Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.

         214.    Bankruptcy Code section 541(a) provides, in pertinent part, that the bankruptcy

 estate is comprised, among other things, of “all legal or equitable interests of the debtor in property

 as of the commencement of the case.” See 11 U.S.C. § 541(a).

         215.    Bankruptcy Code section 542(a) provides, in pertinent part, that “an entity, . . . in

 possession, custody, or control, during the case, of property that the trustee may use, sell, or lease

 under section 363 of this title, . . . shall deliver to the trustee, and account for, such property or the

 value of such property, unless such property is of inconsequential value or benefit to the estate.”

 See 11 U.S.C. § 542(a).

         216.    The Trustee does not know the current whereabouts or usage of the inventory and

 other property of the Debtor or the income derived therefrom.

         217.    One or more of the Defendants may remain in wrongful possession, custody, and

 control of the inventory, business records, or other property of the Debtor or have or may have

 taken possession of property of the Estate and perhaps other property and the income derived

 therefrom within the meaning of 11 U.S.C. § 542.

         218.    The interest of the Debtor in the inventory, business records, and other property of

 the Debtor as well as all income derived therefrom constitute property of the Estate pursuant to

 section 541 of the Bankruptcy Code.


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        219.    Defendants remain in wrongful possession, custody, and control of property of the

 Debtor within the meaning of 11 U.S.C. § 542.

        220.    Despite its obligations to do so, the Defendants have failed or refused to turnover

 or cause the turnover to the Trustee of property of the Debtor and the income derived therefrom.

        221.    The inventory, business records and other property of the Debtor and the income

 derived therefrom are of significant value and benefit to the Estate and its creditors.

        222.    Accordingly, pursuant to section 542 of the Bankruptcy Code, Plaintiff respectfully

 requests that the Court enter an order directing and compelling the Defendants to turnover or cause

 the turnover of the property of the Debtor and all income derived therefrom, including any

 inventory, documents, books and records of the Debtor.

                                   TENTH CAUSE OF ACTION
                              (Conversion as to Taitz and Mendoza)
        223.    Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.

        224.    Defendant Taitz and Defendant Mendoza converted assets of the Debtor to their

 own use and profit and/or to the use and profit of one of more of the Defendants.

        225.    Defendant Taitz and Defendant Mendoza willfully and intentionally converted

 property of the Debtor to their own use and profit and/or to the use and profit of one of more of

 the Defendants.

        226.    Defendant Taitz and Defendant Mendoza continue to exercise dominion and

 control and/or assert ownership over property of the Debtor.

        227.    Defendant Taitz and Defendant Mendoza have failed and refused to return the

 property of the Debtor either to the Trustee or to the Debtor.




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         228.     Defendants Taitz and Mendoza are liable to the Trustee for the full value of the

 property of the Debtor together with all profits derived therefrom.

         229.     The actions of Defendant Taitz and Defendant Mendoza in transiting the property

 of the Debtor away from the Debtor constitute willful misconduct, malice, fraud, wantonness

 and/or entire want of care as to consequences of actions. Accordingly, the Trustee is entitled to an

 award of punitive damages in an amount sufficient to deter, penalize or punish Defendant Taitz

 from and against his intentionally tortious conduct.

                                ELEVENTH CAUSE OF ACTION
                             (Fraud and Conspiracy/Acting in Concert)
                                    (as to Taitz and Mendoza)

         230.     Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.

         231.     Defendant Mendoza and Defendant Taitz owed fiduciary duties to the Debtor that

 included duties of loyalty, due care, and full disclosure.

         232.     Defendant Mendoza and Defendant Taitz breached their fiduciary obligations owed

 to the Debtor.

         233.     As a direct and proximate result of the breaches of fiduciary duties by Defendant

 Mendoza and Defendant Taitz, the Debtor and its creditors were damaged.

         234.     Defendant Mendoza and Defendant Taitz knowingly and intentionally acted in

 concert to divest the Debtor of its assets, divest creditors of their collateral, and frustrate the efforts

 of creditors of the Debtor to collect debts.

         235.     Defendants conspired to accomplish an unlawful end or to accomplish a lawful end

 by unlawful means, such as breaching the fiduciary obligations Defendant Mendoza and Defendant




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 Taitz owed to the Debtor and perpetrating a self-dealing transaction with the diversion of funds of

 the Debtor and usurpation of corporate opportunity.

           236.   Under O.C.G.A. § 18-2-21, the fraudulent arrangement of Defendants to hinder

 debt collection efforts entitles Plaintiff to legal and equitable relief. Such conduct directly injured

 the Debtor and frustrated efforts of creditors to collect debts.

           237.   Defendants Taitz and Mendoza also committed tortious acts that were in concert

 with one of more of the Defendants or pursuant to a common design in breach fiduciary duties

 owed to the Debtor.

           238.   Defendant Mendoza and Defendant Taitz recklessly breached the fiduciary duties

 they owed to the Debtor and further conspired against the Debtor to do so as described elsewhere

 herein.

           239.   The conspiracy to accomplish an unlawful end, using an unlawful means or acting

 in concert, includes, among other things, the conduct described above and summarized below:

              a. diverting and misappropriating property of the Debtor for their personal benefit;

              b. causing property of the Debtor to be fraudulently transferred; and

              c. creating competing business(es).

           240.   Defendant Mendoza and Defendant Taitz understood the general objectives of the

 conspiratorial scheme, accepted them and agreed, either explicitly or implicitly, to their part to

 further the objectives of the conspiracy or common scheme.

           241.   Defendants acted in concert, pursuant to a common design, and conspired in

 combination with each other to accomplish, among other things, the torts and breaches described

 herein.




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         242.    The Debtor was damaged as a result of the acts committed in the course of the

 conspiracy. The conspiracy or concerted action aggravated damages caused by the above-

 mentioned acts.

         243.    As a result of the foregoing actions and the conspiracy/concerted action of the

 Defendants, the Debtor was damaged in an amount not yet capable of being precisely ascertained,

 but which will be proven at trial.

         244.    The fraudulent arrangement of Defendants to hinder debt collection efforts entitles

 Plaintiff to legal and equitable relief.

         245.    The conduct of Defendants directly injured the Debtor and frustrated efforts of

 creditors to collect debts.

         246.    It would be inequitable to allow Defendants to retain the assets from the Debtor, as

 such would work irreparable injury to Plaintiff.

         247.    The Court should therefore determine that Defendants hold the proceeds of assets

 of the Debtor, including without limitation the proceeds of the Transfers under a constructive trust

 for the benefit of Plaintiff. The Court should also impress an equitable lien and constructive trust

 for the benefit of Plaintiff on the proceeds of the Transfers and the (a) the Falls Landing Property,

 (b) 2020 Porsche Cayenne; (c) 2019 Audi Q8; (d) 2021 BMW X5 and (e) 2021 Audi RS to the

 extent necessary to satisfy the entry of a judgment against Defendants to the extent of the value

 Defendants received, jointly or severally, from the Debtor in an amount to be determined at trial.

         248.    The Court should also award monetary damages to Plaintiff to compensate it for

 the injury it suffered as a result of the fraudulent scheme in an amount to be determined at trial.

         249.    As a result of the foregoing, Defendant Taitz is liable to Plaintiff for actual damages

 in an amount to be determined at trial.


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        250.    Plaintiff is entitled to recover pre- and post-judgment interest at the statutory rate.

        251.    Defendants recklessly, willfully, and intentionally conspired or acted in concert

 with each other. Defendants also acted with an evil mind and with a callous disregard for the

 Debtor's rights and interests. Accordingly, the Debtor is entitled to punitive damages.

                              TWELFTH CAUSE OF ACTION
             (Breach of Fiduciary Duties as to Defendants Taitz and Mendoza)
        252. Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.

        253.    Defendant Taitz was an officer, operations manager, and an insider of the Debtor.

        254.    Defendant Mendoza was an officer and an insider of the Debtor.

        255.    Through the foregoing relationship, there existed a relationship of dependence and

 influence whereby Defendants Taitz and Mendoza had fiduciary duties to the Debtor to act with

 the utmost good faith, honesty, fair dealing, and loyalty and refrain from favoring personal interests

 at the expense of the interests of the Debtor.

        256.    Defendants Taitz and Mendoza were obligated as a fiduciaries to not engage in self-

 dealing or otherwise promote their interests at the expense of and to the detriment of the Debtor.

        257.    Given that the Debtor was insolvent and/or in the zone of insolvency at all times

 relevant hereto, the fiduciary duties of Defendants Taitz and Mendoza extended to include the

 interests of creditors of the Debtor.

        258.    Defendants Taitz and Mendoza willingly, knowingly, recklessly, and in bad faith

 breached their fiduciary duties by placing their interests or those of one or more of the Defendants

 ahead of the interests of the Debtor.

        259.    Defendants Taitz and Mendoza failed to use their best skill and judgment to protect

 the interests of the Debtor.


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        260.    Defendants Taitz and Mendoza breached their fiduciary duties of loyalty, good

 faith, and independence by, among other conduct: (a) failing to account for the assets of the Debtor;

 (b) unfairly competing with the Debtor; (c) terminating the business of the Debtor without

 obtaining fair value; (d) usurping corporate opportunities of the Debtor and self-dealing for the

 benefit of one or more of the Defendants and to the detriment of the Debtor; (e) ignoring and failing

 to protect against conflicts of interest resulting from interrelationships and connections between

 the Debtor and other parties; and (f) failing to protect the interests of the Debtor or refrain from

 conduct that would cause injury to the Debtor or deprive the Debtor of profit or advantage, all for

 personal financial gain.

        261.    The conduct of Defendants Taitz and Mendoza constitutes a breach of their

 fiduciary duties.

        262.    As a direct and proximate result of the breach of fiduciary duties by Defendants

 Taitz and Mendoza, with the cooperation and assistance of one of more of the other Defendants,

 the business of the Debtor was diverted for the benefit of one or more of the Defendants and the

 Debtor has sustained irreparable injury in that the Debtor has not received the value for the business

 of the Debtor that has been siphoned off for the benefit of one or more of the Defendants.

        263.    As a direct and proximate result of the breach of fiduciary duties by the Defendants

 Taitz and Mendoza, the Debtor has sustained injuries for which compensation is sought in the form

 of: (a) compensatory, consequential, and punitive damages in an amount to be determined at trial;

 and (b) disgorgement of all profits earned by the Defendants or their affiliates by virtue of any

 breach of fiduciary duty.

                               THIRTEENTH CAUSE OF ACTION
                                     (Constructive Trust)




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         264.    Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.

         265.    Defendants engaged in an artifice or scheme as described herein to deprive the

 Debtor of funds and assets (the “Funds”) that should have been retained by the Debtor or used to

 pay its creditors.

         266.    In the alternative, the acts described herein constitute an act of omission or

 commission, contrary to legal or equitable duty, trust, or confidence justly reposed, which is

 contrary to good conscience and operates to the injury of Plaintiff.

         267.    The Court should impose a constructive trust for the benefit of Plaintiff over the

 Funds, Transfers, and the (a) the Falls Landing Property, (b) 2020 Porsche Cayenne; (c) 2019 Audi

 Q8; (d) 2021 BMW X5 and (e) 2021 Audi RS or the proceeds thereof.

                  FOURTEENTH CAUSE OF ACTION CAUSE OF ACTION
                                          (Unjust Enrichment)
         268.    Plaintiff repeats, alleges and incorporates by reference the allegations contained in

 the foregoing paragraphs of this Complaint as though fully set forth in this cause of action.

         269.    As a result of the conduct described herein, one or more of the Defendants have

 been unjustly enriched at the expense of the Debtor.

         270.    Accordingly, Defendants should be required to disgorge all transfers, monies,

 profits and gains that the Defendants or their related entities have obtained or will unjustly obtain

 in the future at the expense of the Debtor and a constructive trust should be imposed thereon for

 the benefit of the Plaintiff.

                                      PRAYER FOR RELIEF

         WHEREFORE, the Plaintiff respectfully prays that the Court grant relief and enter a

 judgment in favor of the Plaintiff as follows:


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        A.      on the First Cause of Action, determines that each of the AES Transfers are

 avoidable and order that each of the AES Transfers be set aside as preferential transfers and

 recovered by the Trustee for the benefit of the Estate pursuant to Sections 544, 547(b), 550, and

 551 of the Bankruptcy Code;

        B.      on the Second Cause of Action, determines that each of the TM Preferential

 Transfers are avoidable and order that each of the TM Preferential Transfers be set aside as

 preferential transfers and recovered by the Trustee for the benefit of the Estate pursuant to Sections

 544, 547(b), 550, and 551 of the Bankruptcy Code;

        C.      on the Third Cause of Action, determines that each of the Taitz One Year Transfers

 are avoidable and order that each of the Taitz One Year Transfers be set aside as preferential

 transfers and recovered by the Trustee for the benefit of the Estate pursuant to Sections 544, 547(b),

 550, and 551 of the Bankruptcy Code;

        D.      on the Fourth Cause of Action, determines that each of the Mendoza One Year

 Transfers are avoidable and order that each of the Mendoza One Year Transfers be set aside as

 preferential transfers and recovered by the Trustee for the benefit of the Estate pursuant to Sections

 544, 547(b), 550, and 551 of the Bankruptcy Code;

        E.      on the Fifth Cause of Action, determines that each of the Transfers are avoidable

 and order that the Transfers be set aside as fraudulent transfers and recovered by the Trustee for

 the benefit of the Estate pursuant to sections 544, 548, 550, and 551 of the Bankruptcy Code;

        F.      on the Sixth Cause of Action, determines that each of the Transfers are avoidable

 and order that the Transfers be set aside as fraudulent transfers and recovered by the Trustee for

 the benefit of the Estate pursuant to sections 544, 550, and 551 of the Bankruptcy Code and

 O.C.G.A §§ 18-2-74 and/or 18-2-75;


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        G.      avoids each of the Transfers in favor of the Trustee;

        H.      on the Seventh Cause of Action, determines that each of the transfers, to the extent

 that they are avoided, shall be recovered by Plaintiff pursuant to Sections 550 and 551 of the

 Bankruptcy Code;

        I.      on the Eighth Cause of Action, a judgment and order granting the Trustee a legal

 and equitable accounting and directing and compelling the Defendants to report and account with

 respect to property of the estate of the Debtor, for all damages caused by the Defendants, and all

 transfers received by the Defendants and any profits and any special benefits obtained as a result

 of any breach of fiduciary duty by Defendant Taitz or Defendant Mendoza;

        J.      on the Nineth Cause of Action, enter an award directing and determining that

 property of the Debtor in the custody and control of one or more of the Defendants is property of

 the Estate pursuant to section 541 of the Bankruptcy Code and requiring the Defendants to

 immediately turnover or cause the turnover of said property to Plaintiff pursuant to section 542 of

 the Bankruptcy Code;

        K.      on the Tenth Cause of Action, an award against Defendants for the conversion of

 the property of the Debtor together with compensatory, consequential, and punitive damages in an

 amount to be determined at trial;

        L.      on the Eleventh Cause of Action, that the Court enter judgment for special damages

 in favor of Plaintiff and against Defendants Taitz and Mendoza in an amount to be proven at trial

 and for general damages in favor of Plaintiff and against Defendants Taitz and Mendoza in an

 amount to be proven at trial;

        M.      on the Twelfth Cause of Action, directing and compelling Defendants to report and

 account with respect to property of the Estate of the Debtor, for all damages caused by one or more


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 of the Defendants, and all transfers received by the Defendants and all profits and any special

 benefits obtained by any of the Defendants as a result of any breach of fiduciary duty by

 Defendants Taitz and Mendoza and impose a constructive trust and impress an equitable lien for

 the benefit of Plaintiff as appropriate.

        N.       in addition to injunctive relief to which the Plaintiff may be entitled on the Twelfth

 Causes of Action, an award in the form of: (i) compensatory, consequential, and punitive damages

 in an amount to be determined at trial; and (ii) disgorgement of all profits earned by the Defendants

 or their affiliates by virtue of any breach of fiduciary duty;

        O.       on the Thirteenth Causes of Action, that the Court impose a constructive trust for

 the benefit of the Trustee;

        P.       on the Fourteenth Cause of Action an order directing and compelling the

 Defendants to: (i) report and account with respect to property of the Estate of the Debtor, for all

 damages caused by the Defendants, and all transfers received by the Defendants and all profits and

 any special benefits obtained as a result of any breach of fiduciary duty by Defendant Taitz or

 Defendant Mendoza; and (ii) disgorge all monies profits, and gains by any of the Defendants or

 their related entities that were unjustly obtained or will be obtained be unjustly obtained in the

 future at the expense of the Debtor and imposing a constructive trust for the benefit of the Plaintiff

 with respect thereto;

        Q.       awards pre-judgment interest at the maximum legal rate running from the date of

 filing of the Complaint to the date of judgment herein;

        R.       awards post-judgment interest at the maximum legal rate running from the date of

 judgment herein until the date the judgment is paid in full, plus costs;

        S.       requires the Defendants to pay forthwith the judgment amount awarded in favor of


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 Plaintiff; and

        T.        grants Plaintiff such other and further legal or equitable relief as the Court deems

 just and proper under the circumstances of this case.

        Dated: September 2, 2022.
                                                LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                                /s/ Henry F. Sewell, Jr.
                                                Henry F. Sewell, Jr.
                                                Georgia Bar No. 636265
                                                Buckhead Centre
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                                                Atlanta, GA 30305
                                                (404) 926-0053
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                                                Counsel for S. Gregory Hays, as Chapter 7 Trustee
                                                for the Estate of Atlanta Light Bulb, LLC, Debtor




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                                    EXHIBIT A




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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                        )       CHAPTER 11
                                               )
 ATLANTA LIGHT BULBS, INC.,                    )
                                               )       CASE NO. 22-52950-pmb
          Debtor.                              )

                           SWORN DECLARATION OF JESSE ROOT

          Jesse Root deposes and says:

    1. I give this Sworn Declaration in support of my response to the Motion to Dismiss

          Bankruptcy Case filed by Tandem Bank in the above-styled case, the Motion for Relief

          from Stay filed by Tandem Bank in the above-styled case, and for all other purposes

          permitted by law in the above-styled bankruptcy case.

    2. I am over the age of 18, have no disability that would prevent me from testifying

          competently, and I have personal knowledge of the matters set out herein.

    3. My father, Gary Root, founded Atlanta Light Bulbs, Inc. (“ALB”) approximately 41 years

          ago in 1981.

    4. ALB was a successful business for decades, with a large customer base and innovative

          products. ALB sold such products as specialty lamps, projector lamps, medical lamps,

          miniature lamps, light fixtures, and lighting installations, and moved into newer products

          such as LED lighting as they entered the market.

    5. In 1998, ALB launched a website, becoming one of the first companies in Atlanta to offer

          its inventory and services online.

    6. ALB has been known in the lighting industry for decades, including due to the participation

          of the Root family in industry groups. Gary Root served on various industry boards and



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      committees over the years, including The National Association of Independent Lighting

      Distributors (“NALD”), where he served on the board from 2000 through 2006 and where

      he served as President from 2004 through 2005. I have also been active in industry groups

      such as NALD.

   7. I went to work for ALB beginning in approximately 2008, holding various positions over

      the years and going from being an account manager, to a sales manager, to a co-owner and

      the Vice President of Sales who supervised all sales activity for ALB.

   8. My father, Gary Root, died in 2017 after a hard battle with a long-term illness.

   9. After my father’s death in 2017, 50% of ALB was sold by my brother to Jessica Mendoza

      (“Ms. Mendoza”) who became the CEO of ALB.

   10. In the capacity of also being a fifty percent (50%) owner of ALB, I raised questions with

      Ms. Mendoza about how the finances of ALB were being handled and I requested access

      to certain financial data that was not being provided to me by Ms. Mendoza. In response,

      Ms. Mendoza terminated my employment with ALB in 2021.

   11. Ms. Mendoza hired her boyfriend, Robert Taitz (“Mr. Taitz”), to work for ALB.

   12. Ms. Mendoza also hired her family members and/or Mr. Taitz’s family members to work

      for ALB.

   13. I understand that an unsecured creditors committee was appointed in this case very

      recently, and that the unsecured creditors committee intends to move for appointment of a

      Chapter 11 Trustee.

   14. I believe that ALB could be a successful business, under appropriate management, in light

      of its decades of experience in the lighting industry, its reputation in the industry (although




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        now somewhat damaged by recent actions), and the relationships with customers and

        vendors that could be restored under proper management.

    15. If a Chapter 11 Trustee were to be appointed by the Court, I am prepared to meet with the

        Chapter 11 Trustee and to assist him or her.

    16. I have reviewed the photographs that my legal counsel submitted as Exhibits “A” through

        “F” to the response to the Motion to Dismiss of Tandem Bank. Those photographs are of

        the premises where ALB has maintained a showroom and warehouse since the 1990s. Even

        when ALB rented other office space, it continued to occupy that showroom and warehouse.

    17. I declare under penalty of perjury under the laws of the United States of America that the

        foregoing is true and correct.

        This 12th day of June, 2022.

                                             /s/ Jesse Root
                                             Jesse Root

 [Notarization unnecessary pursuant to 28 U.S.C. 1746]




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Case 22-52950-pmb Doc
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                                                67



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                      )       CHAPTER 11
                                             )
 ATLANTA LIGHT BULBS, INC.,                  )
                                             )       CASE NO. 22-52950-pmb
          Debtor.                            )

                                  CERTIFICATE OF SERVICE

        I hereby certify that I have on this day electronically filed the foregoing document using
 the Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this document
 and an accompanying link to this document to the following parties who have appeared in this case
 under the Bankruptcy Court’s Electronic Case Filing program, and that I served the foregoing
 document by depositing a copy of the same in the United States mail with adequate postage on the
 following:

    •     John C. Cannizzaro john.cannizzaro@icemiller.com
    •     Thomas Dworschak thomas.w.dworschak@usdoj.gov, ltctommyd@aol.com
    •     Kathleen G. Furr kfurr@bakerdonelson.com,
          lgoforth@bakerdonelson.com;ali.lowe@bakerdonelson.com
    •     Ronald A. Levine rlevine@levineblock.com, rlevine682@gmail.com
    •     Scott B. McMahan ecf@poolehuffman.com, scott@poolehuffman.com
    •     Leslie M. Pineyro lpineyro@joneswalden.com,
          jwdistribution@joneswalden.com;ljones@joneswalden.com;cmccord@joneswalden.com;
          arich@joneswalden.com;ewooden@joneswalden.com
    •     Todd J Poole todd@poolehuffman.com
    •     Todd H. Surden todd.surden@hartmansimons.com,
          deloris.person@hartmansimons.com
    •     Jason M. Torf Jason.Torf@icemiller.com
    •     Kristen A. Yadlosky kristen.yadlosky@hartmansimons.com,
          deloris.person@hartmansimons.com

          This 13th day of June, 2022.
                                             ROBL LAW GROUP LLC

                                             /s/ Michael Robl
                                             Michael D. Robl
                                             Georgia Bar No. 610905
 3754 Lavista Road, Suite 250
 Tucker, GA 30084
 (404) 373-5153 (telephone)
 (404) 537-1761 (facsimile)
 michael@roblgroup.com (e-mail)

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                                    EXHIBIT B




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  Atlanta Light Bulbs, Inc.
  Payments to Robert Taitz

  * This schedule was prepared based on limited and incomplete documentation and it may be
  modified and additional transfers may be added as further information and documentation
  becomes available to the Trustee.

    Check Date       Posted Date       Serial              Bank        Amount
                      01/05/21         1279               Tandem       $24,000.00
                      01/05/21         1278               Tandem       $22,000.00
                      01/05/21         1277               Tandem       $19,114.06
                      01/07/21         1284               Tandem       $15,000.00
                      01/07/21         1283               Tandem        $6,500.00
                      01/07/21         1282               Tandem        $3,500.00
                      01/11/21         1287               Tandem       $13,000.00
                      01/13/21         1288               Tandem       $20,000.00
                      01/20/21         wire               Tandem       $34,000.00
                      01/25/21         wire               Tandem       $20,906.10
                      01/27/21         wire               Tandem       $25,000.00
                      02/05/21         wire               Tandem       $25,000.00
                      02/12/21         wire               Tandem       $16,000.00
                      02/18/21         1379               Tandem       $25,000.00
                      02/23/21         1381               Tandem       $18,000.00
                      02/24/21         1382               Tandem       $12,716.80
                      03/08/21         1399               Tandem       $10,000.00
                      03/22/21         1407               Tandem       $20,000.00
                      03/26/21         1419               Tandem       $12,123.11
                      04/05/21         1426               Tandem        $9,429.44
                      04/07/21         1429               Tandem       $24,000.00
                      04/13/21         1433               Tandem       $16,500.00
                      04/19/21         1437               Tandem        $9,000.00
                      04/20/21         1439               Tandem        $9,881.98
                      04/21/21         1438               Tandem       $20,000.00
                      05/03/21         1460               Tandem       $40,000.00
                      05/03/21         1455               Tandem       $10,000.00
                      05/05/21         1463               Tandem       $30,000.00
                      05/13/21         1476               Tandem       $24,704.83
                      05/21/21         1483               Tandem       $20,000.00
                      05/21/21         1484               Tandem       $17,000.00
                      05/27/21         1485               Tandem       $15,000.00
                      06/02/21         1494               Tandem       $26,000.00
                      06/07/21         1505               Tandem       $30,000.00
                      06/09/21         1507               Tandem       $18,133.65


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  Atlanta Light Bulbs, Inc.
  Payments to Robert Taitz

  * This schedule was prepared based on limited and incomplete documentation and it may be
  modified and additional transfers may be added as further information and documentation
  becomes available to the Trustee.

    Check Date       Posted Date       Serial              Bank        Amount
                      06/11/21         1509               Tandem       $15,000.00
                      06/14/21         1510               Tandem       $21,500.00
                      06/16/21         1512               Tandem        $9,000.00
                      06/23/21         1518               Tandem       $25,500.00
                      06/25/21         1520               Tandem       $21,000.00
                      06/25/21         1521               Tandem        $2,694.80
                      07/01/21         1524               Tandem       $22,000.00
                      07/07/21         1529               Tandem       $20,801.33
                      07/08/21         1528               Tandem       $16,000.00
                      07/13/21         1535               Tandem       $16,000.00
                      07/13/21         1536               Tandem       $10,000.00
                      07/19/21         1538               Tandem       $10,000.00
                      07/19/21         1539               Tandem       $19,770.75
                      07/20/21         1542               Tandem       $10,000.00
                      07/22/21         1545               Tandem       $16,049.29
                      07/23/21         1544               Tandem       $26,000.00
                      08/13/21         1550               Tandem       $24,000.00
                      08/13/21         1551               Tandem       $11,726.44
                      08/16/21         1552               Tandem       $20,000.00
     08/27/21         08/27/21         Wire                PNC         $23,841.24
     08/31/21         08/31/21         Wire                PNC        $107,046.13
     09/01/21         09/01/21         10001               PNC         $24,851.23
     09/01/21         09/01/21         10002               PNC         $21,731.26
     09/07/21         09/09/21         10007               PNC          $5,886.22
     09/09/21         09/09/21         10009               PNC         $16,417.51
     09/14/21         09/16/21         10011               PNC          $5,838.98
     09/17/21         09/17/21         10027               PNC          $9,352.36
     09/21/21         09/21/21         10030               PNC         $29,647.64
     09/22/21         09/23/21         10036               PNC          $2,007.24
     09/23/21         09/24/21         10039               PNC         $22,826.43
     10/04/21         10/05/21         10045               PNC         $21,700.00
     10/06/21         10/06/21         10047               PNC         $29,687.43
     10/07/21         10/07/21         10053               PNC          $4,496.59
     10/20/21         10/22/21         10063               PNC         $14,150.25
     10/25/21         10/26/21         10067               PNC         $21,480.76


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  Atlanta Light Bulbs, Inc.
  Payments to Robert Taitz

  * This schedule was prepared based on limited and incomplete documentation and it may be
  modified and additional transfers may be added as further information and documentation
  becomes available to the Trustee.

    Check Date       Posted Date       Serial             Bank         Amount
     10/25/21         10/26/21         10068              PNC           $3,534.89
     11/01/21         11/02/21         10070              PNC           $8,753.33
     11/11/21         11/15/21         10089              PNC          $13,093.11
     11/18/21         11/18/21         10097              PNC           $2,820.12
     11/22/21         11/22/21         Wire               PNC          $30,754.42
     11/24/21         11/26/21         10099              PNC          $17,672.06
     11/24/21         11/26/21         10100              PNC           $5,090.35
     11/30/21         11/30/21         10104              PNC          $34,062.82
     12/06/21         12/07/21         10108              PNC          $35,027.60
     12/08/21         12/09/21         10125              PNC          $35,918.04
     12/14/21         12/15/21         10127              PNC          $15,178.74
     12/16/21         12/17/21         10130              PNC          $19,044.95
     12/21/21         12/22/21         10135              PNC          $31,125.05
     12/24/21         12/27/21         10136              PNC          $16,728.26
     12/31/21         12/31/21         10138              PNC          $14,827.30
     01/04/22         01/05/22         10140              PNC           $3,446.68
     01/06/22         01/07/22         10141              PNC          $31,686.10
     01/10/22         01/12/22         10145              PNC          $17,366.70
     01/20/22         01/21/22         10148              PNC          $22,082.30
     01/18/22         01/21/22         10147              PNC           $8,198.03
     01/31/22         02/01/22         10151              PNC          $17,253.07
     02/01/22         02/02/22         10154              PNC          $24,336.17
     02/02/22         02/02/22         Wire               PNC         $108,333.42

                                                                    $1,855,847.36




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                                    EXHIBIT C




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 Atlanta Light Bulbs, Inc.
 Payments to Jessica Mendoza


 * This schedule was prepared based on limited and incomplete documentation and it may be modified
 and additional transfers may be added as further information and documentation becomes available to
 the Trustee.


   Check Date      Posted Date         Serial             Bank         Amount
                    1/4/2021           1275              Tandem        $19,500.00
                    4/2/2021           1423              Tandem        $24,000.00
    09/07/21        09/07/21           10005              PNC           $2,197.29
    09/16/21        09/16/21           10026              PNC           $5,170.00
    09/22/21        09/23/21           10035              PNC          $24,456.28
    09/30/21        10/01/21           10043              PNC          $17,017.29
    10/04/21        10/05/21           10046              PNC          $20,312.57
    10/20/21        10/22/21           10064              PNC          $17,031.90
    11/01/21        11/02/21           10069              PNC          $40,134.78
    11/04/21        11/05/21           10072              PNC          $20,865.22
    11/18/21        11/18/21           10096              PNC           $2,179.88
    11/30/21        11/30/21           10102              PNC          $24,148.06
    01/04/22        01/05/22           10139              PNC          $28,258.34
    01/07/22        01/10/22           10142              PNC          $28,633.30
    01/25/22        01/26/22           10149              PNC          $28,206.68
    02/01/22        02/02/22           10153              PNC          $20,699.71
    02/10/22        02/11/22           10170              PNC          $51,049.24
    02/16/21        02/17/22           10175              PNC          $30,667.12
    02/22/22        02/22/22           Wire               PNC         $108,333.42
    02/24/22        02/25/22           10177              PNC          $20,941.95
    03/25/22        03/28/22           10186              PNC          $14,892.93
    03/26/22        03/28/22           10187              PNC          $10,000.00

                                                                      $558,695.96




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                                    EXHIBIT D




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 Atlanta Light Bulbs, Inc.
 90 Day Payments to Robert Taitz
 90 Day Payments to Jessica Mendoza


 * This schedule was prepared based on limited and incomplete documentation and it may be modified and
 additional transfers may be added as further information and documentation becomes available to the Trustee.


             Payee                Check Date      Posted Date         Serial           Bank           Amount
 Robert Taitz                      01/20/22        01/21/22           10148            PNC            $22,082.30
 Robert Taitz                      01/18/22        01/21/22           10147            PNC             $8,198.03
 Robert Taitz                      01/31/22        02/01/22           10151            PNC            $17,253.07
 Robert Taitz                      02/01/22        02/02/22           10154            PNC            $24,336.17
 Robert Taitz                      02/02/22        02/02/22            Wire            PNC           $108,333.42

                                                                                                     $180,202.99




             Payee                Check Date      Posted Date         Serial           Bank           Amount
 Jessica Mendoza                   01/25/22        01/26/22           10149            PNC            $28,206.68
 Jessica Mendoza                   02/01/22        02/02/22           10153            PNC            $20,699.71
 Jessica Mendoza                   02/10/22        02/11/22           10170            PNC            $51,049.24
 Jessica Mendoza                   02/16/21        02/17/22           10175            PNC            $30,667.12
 Jessica Mendoza                   02/22/22        02/22/22            Wire            PNC           $108,333.42
 Jessica Mendoza                   02/24/22        02/25/22           10177            PNC            $20,941.95
 Jessica Mendoza                   03/25/22        03/28/22           10186            PNC            $14,892.93
 Petty Cash / Jessica Mendoza      03/26/22        03/28/22           10187            PNC            $10,000.00

                                                                                                     $284,791.05




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                                    EXHIBIT E




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  Atlanta Light Bulbs, Inc.
  One Year Payments to Robert Taitz

  * This schedule was prepared based on limited and incomplete documentation and it may be
  modified and additional transfers may be added as further information and documentation
  becomes available to the Trustee.

    Check Date      Posted Date        Serial             Bank         Amount
                     04/19/21          1437              Tandem         $9,000.00
                     04/20/21          1439              Tandem         $9,881.98
                     04/21/21          1438              Tandem        $20,000.00
                     05/03/21          1460              Tandem        $40,000.00
                     05/03/21          1455              Tandem        $10,000.00
                     05/05/21          1463              Tandem        $30,000.00
                     05/13/21          1476              Tandem        $24,704.83
                     05/21/21          1483              Tandem        $20,000.00
                     05/21/21          1484              Tandem        $17,000.00
                     05/27/21          1485              Tandem        $15,000.00
                     06/02/21          1494              Tandem        $26,000.00
                     06/07/21          1505              Tandem        $30,000.00
                     06/09/21          1507              Tandem        $18,133.65
                     06/11/21          1509              Tandem        $15,000.00
                     06/14/21          1510              Tandem        $21,500.00
                     06/16/21          1512              Tandem         $9,000.00
                     06/23/21          1518              Tandem        $25,500.00
                     06/25/21          1520              Tandem        $21,000.00
                     06/25/21          1521              Tandem         $2,694.80
                     07/01/21          1524              Tandem        $22,000.00
                     07/07/21          1529              Tandem        $20,801.33
                     07/08/21          1528              Tandem        $16,000.00
                     07/13/21          1535              Tandem        $16,000.00
                     07/13/21          1536              Tandem        $10,000.00
                     07/19/21          1538              Tandem        $10,000.00
                     07/19/21          1539              Tandem        $19,770.75
                     07/20/21          1542              Tandem        $10,000.00
                     07/22/21          1545              Tandem        $16,049.29
                     07/23/21          1544              Tandem        $26,000.00
                     08/13/21          1550              Tandem        $24,000.00
                     08/13/21          1551              Tandem        $11,726.44
                     08/16/21          1552              Tandem        $20,000.00
     08/27/21        08/27/21           Wire              PNC          $23,841.24
     08/31/21        08/31/21           Wire              PNC         $107,046.13
     09/01/21        09/01/21          10001              PNC          $24,851.23


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  Atlanta Light Bulbs, Inc.
  One Year Payments to Robert Taitz

  * This schedule was prepared based on limited and incomplete documentation and it may be
  modified and additional transfers may be added as further information and documentation
  becomes available to the Trustee.

    Check Date      Posted Date        Serial            Bank          Amount
     09/01/21        09/01/21          10002             PNC           $21,731.26
     09/07/21        09/09/21          10007             PNC            $5,886.22
     09/09/21        09/09/21          10009             PNC           $16,417.51
     09/14/21        09/16/21          10011             PNC            $5,838.98
     09/17/21        09/17/21          10027             PNC            $9,352.36
     09/21/21        09/21/21          10030             PNC           $29,647.64
     09/22/21        09/23/21          10036             PNC            $2,007.24
     09/23/21        09/24/21          10039             PNC           $22,826.43
     10/04/21        10/05/21          10045             PNC           $21,700.00
     10/06/21        10/06/21          10047             PNC           $29,687.43
     10/07/21        10/07/21          10053             PNC            $4,496.59
     10/20/21        10/22/21          10063             PNC           $14,150.25
     10/25/21        10/26/21          10067             PNC           $21,480.76
     10/25/21        10/26/21          10068             PNC            $3,534.89
     11/01/21        11/02/21          10070             PNC            $8,753.33
     11/11/21        11/15/21          10089             PNC           $13,093.11
     11/18/21        11/18/21          10097             PNC            $2,820.12
     11/22/21        11/22/21           Wire             PNC           $30,754.42
     11/24/21        11/26/21          10099             PNC           $17,672.06
     11/24/21        11/26/21          10100             PNC            $5,090.35
     11/30/21        11/30/21          10104             PNC           $34,062.82
     12/06/21        12/07/21          10108             PNC           $35,027.60
     12/08/21        12/09/21          10125             PNC           $35,918.04
     12/14/21        12/15/21          10127             PNC           $15,178.74
     12/16/21        12/17/21          10130             PNC           $19,044.95
     12/21/21        12/22/21          10135             PNC           $31,125.05
     12/24/21        12/27/21          10136             PNC           $16,728.26
     12/31/21        12/31/21          10138             PNC           $14,827.30
     01/04/22        01/05/22          10140             PNC            $3,446.68
     01/06/22        01/07/22          10141             PNC           $31,686.10
     01/10/22        01/12/22          10145             PNC           $17,366.70
     01/20/22        01/21/22          10148             PNC           $22,082.30
     01/18/22        01/21/22          10147             PNC            $8,198.03
     01/31/22        02/01/22          10151             PNC           $17,253.07
     02/01/22        02/02/22          10154             PNC           $24,336.17


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  Atlanta Light Bulbs, Inc.
  One Year Payments to Robert Taitz

  * This schedule was prepared based on limited and incomplete documentation and it may be
  modified and additional transfers may be added as further information and documentation
  becomes available to the Trustee.

    Check Date      Posted Date        Serial            Bank          Amount
     02/02/22        02/02/22          Wire              PNC          $108,333.42

                                                                    $1,464,057.85




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                                    EXHIBIT F




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 Atlanta Light Bulbs, Inc.
 One Year Payments to Jessica Mendoza


 * This schedule was prepared based on limited and incomplete documentation and it may be modified
 and additional transfers may be added as further information and documentation becomes available to
 the Trustee.


   Check Date      Posted Date         Serial             Bank         Amount
    09/07/21        09/07/21           10005              PNC           $2,197.29
    09/16/21        09/16/21           10026              PNC           $5,170.00
    09/22/21        09/23/21           10035              PNC          $24,456.28
    09/30/21        10/01/21           10043              PNC          $17,017.29
    10/04/21        10/05/21           10046              PNC          $20,312.57
    10/20/21        10/22/21           10064              PNC          $17,031.90
    11/01/21        11/02/21           10069              PNC          $40,134.78
    11/04/21        11/05/21           10072              PNC          $20,865.22
    11/18/21        11/18/21           10096              PNC           $2,179.88
    11/30/21        11/30/21           10102              PNC          $24,148.06
    01/04/22        01/05/22           10139              PNC          $28,258.34
    01/07/22        01/10/22           10142              PNC          $28,633.30
    01/25/22        01/26/22           10149              PNC          $28,206.68
    02/01/22        02/02/22           10153              PNC          $20,699.71
    02/10/22        02/11/22           10170              PNC          $51,049.24
    02/16/21        02/17/22           10175              PNC          $30,667.12
    02/22/22        02/22/22           Wire               PNC         $108,333.42
    02/24/22        02/25/22           10177              PNC          $20,941.95
    03/25/22        03/28/22           10186              PNC          $14,892.93
    03/26/22        03/28/22           10187              PNC          $10,000.00

                                                                      $515,195.96




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